Case: 1:06-cr-00564-CAB Doc #: 119 Filed: 12/11/07 1 of 6. PageID #: 378
Case: 1:06-cr-00564-CAB Doc #: 119 Filed: 12/11/07 2 of 6. PageID #: 379
Case: 1:06-cr-00564-CAB Doc #: 119 Filed: 12/11/07 3 of 6. PageID #: 380
Case: 1:06-cr-00564-CAB Doc #: 119 Filed: 12/11/07 4 of 6. PageID #: 381
Case: 1:06-cr-00564-CAB Doc #: 119 Filed: 12/11/07 5 of 6. PageID #: 382
Case: 1:06-cr-00564-CAB Doc #: 119 Filed: 12/11/07 6 of 6. PageID #: 383
